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                                           Appendix F – Documents Cited in Graham Affirmation
                                                                                                 Cited in Other
                                                                                                 Affidavits,
                                                                                                 Declarations, or        Reasons Inadmissible
    Source1                                                          Paragraph    Previous Use   Filings                 and/or Immaterial2
    Committee Activities, Special Report of the Select                  7 n.1
    Committee on Intelligence of the United States Senate,
    January 6, 1999 through December 15, 2000, August 2,
    2001, available at:
    https://www.intelligence.senate.gov/sites/default/files/publi
    cations/10751. pdf
    Unclassified Version of Director of Central Intelligence           20 n.2                                            Hearsay, FRE 602,
    George J. Tenet’s Testimony Before the Joint Inquiry into                                                            Preliminary
    Terrorist Attacks Against the United States, June 18, 2002,                                                          investigative material
    available at https://www.cia.gov/newsinformation/
    speeches-testimony/2002/ dci_testimony_06182002.html
    9/11 Commission Final Report [“9/11 Report”]                    23, 24, 28, 29, Averment     Rapawy Exs. 1-3         Generally admissible.
                                                                    32-34, 38-42,                                        As cited in paragraph
                                                                      44, 49, 56                                         42, inadmissible due to
                                                                                                                         hearsay, FRE 602, and
                                                                                                                         preliminary
                                                                                                                         investigative material




1
 Document descriptions, other than bracketed text indicating commonly-used short-form descriptors, are taken directly from the Affirmation.
Their use is for convenience only and should not be taken as a concession that the descriptions are accurate.
2
 Defendant’s objections to the cited documents are made for purposes of the pending motion to dismiss. Defendant reserves the right to move to
exclude, or to assert additional objections, in the event that any party seeks to admit any of the cited documents into evidence in any future
proceeding.

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                                         Appendix F – Documents Cited in Graham Affirmation
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                                                                                                  Affidavits,
                                                                                                  Declarations, or       Reasons Inadmissible
Source                                                        Paragraph        Previous Use       Filings                and/or Immaterial
2012 FBI Summary of PENTTBOM Investigation [“Florida 34, 39, 41, 44,                              Consol. Am. Compl.     Hearsay, FRE 602,
Bulldog Memorandum”]                                   49, 64, 71                                 Appx. 3                FRE 901, Preliminary
                                                                                                  (ECF No. 3463-4);      investigative material
                                                                                                  Kreindler Ex. 2;
                                                                                                  Tarbutton Ex. 10
Joint Inquiry Report [pages 415-443 constitute “Part Four”   36, 45, 60, 65-                      Consol. Am. Compl.,    Hearsay, FRE 602,
or the “28 pages”]                                                 68                             Appx. 2                Preliminary
                                                                                                  (ECF Nos. 3463-2-3);   investigative material
                                                                                                  Kreindler 13;
                                                                                                  Tarbutton Ex. 12
Joint Inquiry Report [“Joint Inquiry”]                             40          Averment                                  Hearsay, FRE 602,
                                                                                                                         Preliminary
                                                                                                                         investigative material
9/11 Commission Memorandum for the Record, Interview             40, 45        Aver. Ex. 33       Kreindler Ex. 12;      Hearsay, FRE 602,
of FBI Special Agent, November 17, 2003                                        (ECF No. 2930)     Tarbutton Ex. 26       Preliminary
                                                                                                                         investigative material
9/11 Commission Memorandum for the Record, Interview               40          Aver. Ex. 30       Kreindler Ex. 6;       Hearsay, FRE 602,
of Omar al-Bayoumi, October 18, 2003                                           (ECF No. 2930)     Tarbutton Ex. 23       Preliminary
                                                                                                                         investigative material
September 26, 2001 FBI Report, Anwar Nasser Aulaqi                 40          Aver. Exs. 54-55   Tarbutton Exs. 71-72   Hearsay, FRE 602,
                                                                               (ECF No. 2930)                            FRE 901, Preliminary
                                                                                                                         investigative material
April 11, 2002 FBI Report, PENTTBOMB                               43          Aver. Ex. 63       Kreindler Ex. 11;      Hearsay, FRE 602,
                                                                               (ECF No. 2930)     Tarbutton Ex. 46       FRE 901, Preliminary
                                                                                                                         investigative material
U.S. Intelligence Report, Connections of San Diego                 45          Aver. Exs. 37-39   Tarbutton Exs. 38-40   Hearsay, FRE 602,
PENTTBOMB Subjects to the Government of Saudi Arabia                           (ECF No. 2930)                            FRE 901, Preliminary
                                                                                                                         investigative material

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                                                                                         Affidavits,
                                                                                         Declarations, or   Reasons Inadmissible
Source                                                      Paragraph   Previous Use     Filings            and/or Immaterial
9/11 Commission Memorandum from Dieter Snell, Raj De,          47                        Tarbutton Ex. 33   Hearsay, FRE 602,
and Mike Jacobson to Philip Zelikow, February 25, 2004                                                      Preliminary
                                                                                                            investigative material
Declassified Documents Detail 9/11 Commission’s Inquiry        47                                           Hearsay, FRE 602,
Into Saudi Arabia, Philip Shenon, The Guardian, May 13,                                                     Preliminary
2016, available at https://www.theguardian.com/us-                                                          investigative material
news/2016/may/13/ september-11-saudi-arabia-
congressional-report-terrorism
9/11 Commission Memorandum for the Record, Interview           48       Aver. Ex. 34     Tarbutton Ex. 27   Hearsay, FRE 602,
of Osama Basnan, October 22, 2003                                       (ECF No. 2930)                      Preliminary
                                                                                                            investigative material
Saudi Arabia’s Curriculum of Intolerance, With Excerpts        57                                           Hearsay, FRE 602
From Saudi Ministry of Education Textbooks, Center for
Religious Freedom of Freedom House and Institute for Gulf
Affairs, 2006 (Available at
https://www.hudson.org/content/research
attachments/attachment/907/crf_saudireport_2006.pdf)
State Department’s Country Reports on Human Rights            69 n.4                                        Hearsay, FRE 602
Practices for 2000




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